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                              Kimberly M.
                            1 Kimberly  M. Maynard
                                             Maynard (Pro   Hac Vice)
                                                        Pro Hac Vice)
                              FRANKFURT KURNIT
                              FRANKFURT       KURNIT     KLEIN
                                                         KLEIN  +
                                                                + SELZ
                                                                  SELZ PC
                                                                       PC
                              28 Liberty
                            2 28
                            2    Liberty Street, 35th Floor
                                         Street, 35th Floor
                              New York,
                              New  York, New
                                         New York
                                                York 10005
                                                      10005
                              Telephone: (212)
                            3 Telephone:
                            3                     980-0120
                                            212) 980-0120
                              Facsimile: (212)
                              Facsimile:    212) 593-9175
                                                  593-9175
                            4 kmaynard@fkks.com
                            4 kmaynard        . corn
                               Vishwanath MohanASBN
                            55 Vishwanath Mohan (SBN 313759)
                                                         313759)
                               FRANKFURT KU
                               FRANKFURT     KURNIT     KLEIN +
                                                     IT KLEIN   + SELZ
                                                                  SELZ PC
                                                                       PC
                               2029 Century
                            6 2029
                            6       Century Park
                                            Park East,
                                                  East, Suite 2500N
                                                        Suite 2500N
                               Los Angeles, California
                               Los Angeles, California 90067
                                                        90067
                               Telephone: (310)
                            77 Telephone: (310) 579-9600
                                                 579-9600
                               Facsimile: (310)
                               Facsimile: (310) 579-9650
                                                 579-9650
                            8 vmohan@fkks.com
                            8  vmohan@,fkks.corn
                               Attorneysfor
                            99 Attorneys for Plaintiff
                                             Plaintiff SUBMARINE
                                                       SUBMARINE
                               ENTERTAINMENT, LLC
                               ENTERTAINMENT,        LLC and
                                                         and Plaintiff
                                                             Plaintiff and
                                                                       and
                           10 Counterdefendant
                           10                     SUBMARINE
                               Counterde endant SUBMARINE
                               VENTURES,
                               VENTU S, LLC  LLC
                           11
                           11
                           12
                           12                        UNITED
                                                     UNITED STATES DISTRICT COURT
                                                            STATES DISTRICT COURT
                           13                      CENTRAL DISTRICT OF
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                       CALIFORNIA
New York, New York 10005




                           13
    P (212) 980-0120
    28 Liberty Street




                           14
                           14                                WESTERN DIVISION
                                                             WESTERN DIVISION
                           15 SUBMARINE
                           15 SUBMARINE ENTERTAINMENT,
                                        ENTERTAINMENT,                       Case No. 2:22-cv-01155-GW-AFM
                                                                             Case No. 2:22-cv-01155-GW-AFM
                              LLC AND SUBMARINE
                              LLC AND           VENTURES,
                                      SUBMARINE VENTURES,
                           16 LLC,
                           16 LLC,                                           PLAINTIFF AND
                                                                             PLAINTIFF AND
                                                                             COUNTERDEFENDANT
                                                                             COUNTERDEFENDANT
                           17
                           17               Plaintiffs,
                                            Plaintiffs,                      SUBMARINE  VENTURES, LLC'S
                                                                             SUBMARINE VENTURES    LLC’S
                                                                             ANSWER TO
                                                                             ANSWER     DEFENDANT AND
                                                                                     TO DEFENDANT   AND
                           18
                           18        v.
                                     v.                                      COUNTERCLAIMANT
                                                                             COUNTERCLAIMANT
                                                                             SUBMARINE  HAVEN B.V.’S
                                                                             SUBMARINE HAVEN  B.V.'S
                           19 SUBMARINE
                           19           HAVEN B.V.,
                              SUBMARINE HAVEN B.V.,                          COUNTERCLAIMS
                                                                             COUNTERCLAIMS
                           20
                           20               Defendant.
                                            Defendant.
                           21
                           21
                                SUBMARINE HAVEN B.V.,
                                SUBMARINE HAVEN B.V.,
                           22
                           22
                                            Counterclaimant,
                                            Counterclaimant,
                           23
                           23
                                     v.
                                     v.
                           24
                           24
                                SUBMARINE VENTURES, LLC,
                                SUBMARINE VENTURES, LLC,
                           25
                           25
                                            Counterdefendant.
                                            Counterdefendant.
                           26
                           26
                           27
                           27
                           28
                           28

                                    COUNTERDEFENDANT SUBMARINE
                                    COUNTERDEFENDANT           VENTURES, LLC'S
                                                     SUBMARINE VENTURES,  LLC’S ANSWER
                                                                                ANSWER TO COUNTERCLAIMANT
                                                                                       TO COUNTERCLAIMANT
                                                   SUBMARINE HAVEN B.V.'S
                                                   SUBMARINE HAVEN  B.V.’S COUNTERCLAIMS
                                                                           COUNTERCLAIMS
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                            1         Plaintiff and Counterdefendant
                                      Plaintiff and Counterdefendant Submarine Ventures, LLC
                                                                     Submarine Ventures,     (“Submarine”), by
                                                                                         LLC ("Submarine"), by
                            22 and
                               and through
                                   through their
                                           their attorneys,
                                                 attorneys, Frankfurt
                                                            Frankfurt Kurnit
                                                                      Kurnit Klein
                                                                             Klein +
                                                                                   + Selz,
                                                                                     Selz, P.C., as and
                                                                                           P.C., as and for their
                                                                                                        for their
                            3 answer
                            3 answer to
                                     to the
                                        the counterclaims (the "Counterclaim")
                                            counterclaims (the “Counterclaim”) of
                                                                               of Defendant
                                                                                  Defendant and
                                                                                            and
                            4 Counterclaimant
                            4 Counterclaimant Submarine Haven B.V.
                                              Submarine Haven B.V. ("Defendant"
                                                                   (“Defendant” or
                                                                                or "Haven"),
                                                                                   “Haven”), states
                                                                                             states as
                                                                                                    as
                            55 follows:
                               follows:
                            6
                            6         1.
                                      1.    Submarine lacks sufficient
                                            Submarine lacks sufficient information to admit
                                                                       information to       or deny
                                                                                      admit or deny the
                                                                                                    the allegations
                                                                                                        allegations
                            77 in
                               in Paragraph 1 of
                                  Paragraph 1 of the
                                                 the Counterclaim
                                                     Counterclaim and, therefore, denies
                                                                  and, therefore, denies the
                                                                                         the same.
                                                                                             same.
                            8
                            8         2.
                                      2.    Submarine admits only
                                            Submarine admits only that
                                                                  that Defendant
                                                                       Defendant and
                                                                                 and Submarine, LLC engaged
                                                                                     Submarine, LLC         in
                                                                                                    engaged in
                            99 aa trademark
                                  trademark dispute
                                            dispute in the European
                                                    in the          Union, avers
                                                           European Union,       that, though
                                                                           avers that, though not
                                                                                              not relevant to the
                                                                                                  relevant to the
                           10 proceeding
                           10 proceeding before
                                         before this
                                                this Court
                                                     Court or
                                                           or the
                                                              the parties'
                                                                  parties’ rights
                                                                           rights in
                                                                                  in the
                                                                                     the United
                                                                                         United States, the result
                                                                                                States, the        of
                                                                                                            result of
                           11 that
                           11 that dispute
                                   dispute speaks
                                           speaks for itself, and
                                                  for itself, and refers the Court
                                                                  refers the Court to
                                                                                   to the
                                                                                      the contents therein. Submarine
                                                                                          contents therein. Submarine
                           12 denies
                           12 denies the
                                     the remaining
                                         remaining allegations in Paragraph
                                                   allegations in           2 of
                                                                  Paragraph 2 of the
                                                                                 the Counterclaim.
                                                                                     Counterclaim.
                           13         3.    Submarine admits only
                                                             only that
                                                                  that Plaintiffs
                                                                       Plaintiffs in this action (“Plaintiffs”) assert
                                                                                                                assert
New York, New York 10005




                           13         3.    Submarine admits                      in this action ("Plaintiffs")
    P (212) 980-0120
    28 Liberty Street




                           14 infringement
                           14 infringement of
                                           of U.S.
                                              U.S. Trademark
                                                   Trademark Registration
                                                             Registration No.
                                                                          No. 2,435,276
                                                                              2,435,276 for use of
                                                                                        for use of the
                                                                                                   the
                           15 SUBMARINE
                           15           trademark in
                              SUBMARINE trademark in International
                                                     International Class No. 41
                                                                   Class No. 41 (the
                                                                                (the "276
                                                                                     “‘276 Registration”) and
                                                                                           Registration") and
                           16 denies
                           16 denies the
                                     the remainder
                                         remainder of
                                                   of the
                                                      the allegations in Paragraph
                                                          allegations in           3 of
                                                                         Paragraph 3 of the
                                                                                        the Counterclaim.
                                                                                            Counterclaim.
                           17
                           17         4.
                                      4.    Submarine admits the
                                            Submarine admits the allegations
                                                                 allegations in
                                                                             in Paragraph 4 of
                                                                                Paragraph 4 of the
                                                                                               the Counterclaim.
                                                                                                   Counterclaim.
                           18
                           18         5.
                                      5.    Submarine admits the
                                            Submarine admits the allegations
                                                                 allegations in
                                                                             in Paragraph 5 of
                                                                                Paragraph 5 of the
                                                                                               the Counterclaim.
                                                                                                   Counterclaim.
                           19
                           19         6.
                                      6.    Submarine lacks sufficient
                                            Submarine lacks sufficient information to admit
                                                                       information to       or deny
                                                                                      admit or deny the
                                                                                                    the allegations
                                                                                                        allegations
                           20 in
                           20 in Paragraph
                                 Paragraph 6 of the
                                           6 of the Counterclaim
                                                    Counterclaim and, therefore, denies
                                                                 and, therefore, denies the
                                                                                        the same.
                                                                                            same.
                           21
                           21         7.
                                      7.    Submarine admits the
                                            Submarine admits the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 7 of the
                                                                                          7 of the Counterclaim.
                                                                                                   Counterclaim.
                           22
                           22         8.
                                      8.    Submarine incorporates by
                                            Submarine incorporates by reference
                                                                      reference the
                                                                                the preceding
                                                                                    preceding responses
                                                                                              responses to
                                                                                                        to the
                                                                                                           the
                           23 allegations
                           23 allegations in
                                          in the
                                             the Counterclaim as if
                                                 Counterclaim as if fully set forth
                                                                    fully set       herein.
                                                                              forth herein.
                           24
                           24         9.
                                      9.    Submarine admits that
                                            Submarine admits that it
                                                                  it owns
                                                                     owns the
                                                                          the ‘276
                                                                              `276 Registration,
                                                                                   Registration, and denies the
                                                                                                 and denies the
                           25 remainder
                           25 remainder of
                                        of the
                                           the allegations
                                               allegations in
                                                           in Paragraph
                                                              Paragraph 9 of the
                                                                        9 of the Counterclaim.
                                                                                 Counterclaim.
                           26
                           26         10.
                                      10.   Submarine admits the
                                            Submarine admits the allegations
                                                                 allegations in
                                                                             in Paragraph 10 of
                                                                                Paragraph 10 of the
                                                                                                the Counterclaim.
                                                                                                    Counterclaim.
                           27
                           27         11.
                                      11.   Submarine denies that
                                            Submarine denies that the
                                                                  the declaration
                                                                      declaration referenced
                                                                                  referenced in
                                                                                             in Paragraph 11 of
                                                                                                Paragraph 11 of the
                                                                                                                the
                           28 Counterclaim
                           28              was signed
                              Counterclaim was signed by
                                                      by Dan
                                                         Dan Braun
                                                             Braun in
                                                                   in his
                                                                      his capacity as co-founder
                                                                          capacity as co-founder and
                                                                                                 and Secretary
                                                                                                     Secretary
                                                                    22
                                    COUNTERDEFENDANT SUBMARINE
                                    COUNTERDEFENDANT           VENTURES, LLC'S
                                                     SUBMARINE VENTURES,  LLC’S ANSWER
                                                                                ANSWER TO COUNTERCLAIMANT
                                                                                       TO COUNTERCLAIMANT
                                                   SUBMARINE HAVEN B.V.'S
                                                   SUBMARINE HAVEN  B.V.’S COUNTERCLAIMS
                                                                           COUNTERCLAIMS
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                            1 of
                              of Submarine Ventures, admits
                                 Submarine Ventures, admits that
                                                            that Dan Braun signed
                                                                 Dan Braun signed the
                                                                                  the declaration
                                                                                      declaration as
                                                                                                  as Secretary
                                                                                                     Secretary
                            22 of
                               of Submarine, Inc., and
                                  Submarine, Inc., and admits
                                                       admits the
                                                              the remainder
                                                                  remainder of
                                                                            of the
                                                                               the allegations
                                                                                   allegations in
                                                                                               in Paragraph 11 of
                                                                                                  Paragraph 11 of
                            3 the
                            3 the Counterclaim.
                                  Counterclaim.
                            4
                            4        12.
                                     12.    Submarine denies the
                                            Submarine denies the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 12
                                                                                          12 of
                                                                                             of the
                                                                                                the Counterclaim.
                                                                                                    Counterclaim.
                            55       13.
                                     13.    Submarine avers that
                                            Submarine avers that the
                                                                 the specimen
                                                                     specimen submitted
                                                                              submitted in
                                                                                        in support
                                                                                           support of
                                                                                                   of the
                                                                                                      the ‘276
                                                                                                          `276
                            6 Registration
                            6              speaks for
                              Registration speaks     itself and
                                                  for itself and refers the Court
                                                                 refers the       to the
                                                                            Court to the document
                                                                                         document for the contents
                                                                                                  for the contents
                            77 thereof.
                               thereof. Submarine denies the
                                        Submarine denies the remainder
                                                             remainder of
                                                                       of the
                                                                          the allegations
                                                                              allegations in
                                                                                          in Paragraph 13 of
                                                                                             Paragraph 13 of the
                                                                                                             the
                            8 Counterclaim.
                            8 Counterclaim.
                            99       14.
                                     14.    Submarine admits only
                                            Submarine admits only that
                                                                  that it
                                                                       it produced
                                                                          produced audio-visual
                                                                                   audio-visual content under the
                                                                                                content under the
                           10 SUBMARINE
                           10           trademark in
                              SUBMARINE trademark in 1998
                                                     1998 and
                                                          and that
                                                              that it
                                                                   it produced
                                                                      produced audio-visual
                                                                               audio-visual content
                                                                                            content for
                                                                                                    for
                           11 Absolut
                           11 Absolut Vodka.
                                      Vodka. Submarine denies the
                                             Submarine denies the remainder of the
                                                                  remainder of the allegations
                                                                                   allegations in
                                                                                               in Paragraph 14
                                                                                                  Paragraph 14
                           12 of
                           12 of the
                                 the Counterclaim.
                                     Counterclaim.
                           13        15.    Submarine denies the
                                                             the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 15
                                                                                          15 of
                                                                                             of the
                                                                                                the Counterclaim.
New York, New York 10005




                           13        15.    Submarine denies                                        Counterclaim.
    P (212) 980-0120
    28 Liberty Street




                           14
                           14               a. Submarine
                                            a.           avers that
                                               Submarine avers that the
                                                                    the contents of the
                                                                        contents of the Wayback
                                                                                        Wayback Machine
                                                                                                Machine speak
                                                                                                        speak
                           15
                           15                  for themselves, but
                                               for themselves, but that
                                                                   that they
                                                                        they do
                                                                             do not
                                                                                not provide
                                                                                    provide aa complete or accurate
                                                                                               complete or accurate
                           16
                           16                  depiction of
                                               depiction of the
                                                            the website
                                                                website located
                                                                        located at
                                                                                at submarine.com,
                                                                                   submarine.com, including
                                                                                                  including
                           17
                           17                  because it
                                               because    was password
                                                       it was password protected.
                                                                       protected. Submarine otherwise lacks
                                                                                  Submarine otherwise lacks
                           18
                           18                  sufficient information
                                               sufficient information to
                                                                      to admit
                                                                         admit or
                                                                               or deny
                                                                                  deny the
                                                                                       the allegations
                                                                                           allegations in
                                                                                                       in Paragraph
                                                                                                          Paragraph
                           19
                           19                  15(a) of
                                               15(a) of the
                                                        the Counterclaim and, therefore,
                                                            Counterclaim and, therefore, denies
                                                                                         denies the
                                                                                                the same.
                                                                                                    same.
                           20
                           20               b. Submarine
                                            b.           lacks sufficient
                                               Submarine lacks sufficient information to admit
                                                                          information to       or deny
                                                                                         admit or deny the
                                                                                                       the
                           21
                           21                  allegations in
                                               allegations in Paragraph 15(b) of
                                                              Paragraph 15(b) of the
                                                                                 the Counterclaim
                                                                                     Counterclaim and, therefore,
                                                                                                  and, therefore,
                           22
                           22                  denies the
                                               denies the same.
                                                          same.
                           23
                           23               c.
                                            c. Submarine admits only
                                               Submarine admits only that
                                                                     that Defendant
                                                                          Defendant and
                                                                                    and Submarine, LLC
                                                                                        Submarine, LLC
                           24
                           24                  engaged in aa trademark
                                               engaged in    trademark dispute
                                                                       dispute in
                                                                               in the
                                                                                  the European Union, avers
                                                                                      European Union, avers that,
                                                                                                            that,
                           25
                           25                  though not
                                               though not relevant
                                                          relevant to
                                                                   to the
                                                                      the proceeding
                                                                          proceeding before
                                                                                     before this
                                                                                            this Court
                                                                                                 Court or
                                                                                                       or the
                                                                                                          the
                           26
                           26                  parties’ rights
                                               parties' rights in
                                                               in the
                                                                  the United
                                                                      United States, the documents
                                                                             States, the documents produced
                                                                                                   produced in that
                                                                                                            in that
                           27
                           27                  dispute speaks
                                               dispute speaks for themselves, and
                                                              for themselves, and refers the Court
                                                                                  refers the       to the
                                                                                             Court to the contents
                                                                                                          contents
                           28
                           28                  therein.
                                               therein.
                                                                         3
                                                                         3
                                    COUNTERDEFENDANT SUBMARINE
                                    COUNTERDEFENDANT           VENTURES, LLC'S
                                                     SUBMARINE VENTURES,  LLC’S ANSWER
                                                                                ANSWER TO COUNTERCLAIMANT
                                                                                       TO COUNTERCLAIMANT
                                                   SUBMARINE HAVEN B.V.'S
                                                   SUBMARINE HAVEN  B.V.’S COUNTERCLAIMS
                                                                           COUNTERCLAIMS
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                            1         16.
                                      16.   Submarine denies the
                                            Submarine denies the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 16
                                                                                          16 of
                                                                                             of the
                                                                                                the Counterclaim.
                                                                                                    Counterclaim.
                            22        17.
                                      17.   Submarine denies the
                                            Submarine denies the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 17
                                                                                          17 of
                                                                                             of the
                                                                                                the Counterclaim.
                                                                                                    Counterclaim.
                            3
                            3         18.
                                      18.   Submarine incorporates by
                                            Submarine incorporates by reference
                                                                      reference the
                                                                                the preceding
                                                                                    preceding responses
                                                                                              responses to
                                                                                                        to the
                                                                                                           the
                            4 allegations
                            4 allegations in
                                          in the
                                             the Counterclaim as if
                                                 Counterclaim as if fully set forth
                                                                    fully set       herein.
                                                                              forth herein.
                            55        19.
                                      19.   Submarine denies the
                                            Submarine denies the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 19
                                                                                          19 of
                                                                                             of the
                                                                                                the Counterclaim.
                                                                                                    Counterclaim.
                            6
                            6         20.
                                      20.   Submarine denies the
                                            Submarine denies the allegations
                                                                 allegations in
                                                                             in Paragraph
                                                                                Paragraph 20
                                                                                          20 of
                                                                                             of the
                                                                                                the Counterclaim.
                                                                                                    Counterclaim.
                            77                               First Affirmative Defense
                                                             First Affirmative Defense
                            8
                            8                                         (Laches)
                                                                      (Laches)
                            99        21.
                                      21.   Defendant’s Counterclaim
                                            Defendant's              is barred
                                                        Counterclaim is barred in
                                                                               in whole
                                                                                  whole or
                                                                                        or in
                                                                                           in part
                                                                                              part under
                                                                                                   under the
                                                                                                         the
                           10 doctrine
                           10 doctrine of
                                       of laches. Defendant has
                                          laches. Defendant has had
                                                                had constructive notice of
                                                                    constructive notice of the
                                                                                           the ‘276
                                                                                               `276 Registration
                                                                                                    Registration
                           11 since
                           11 since at
                                    at least
                                       least as
                                             as early as March
                                                early as       2001. Upon
                                                         March 2001. Upon information and belief,
                                                                          information and belief, since
                                                                                                  since at
                                                                                                        at least as
                                                                                                           least as
                           12 early
                           12       as 2013,
                              early as 2013, Defendant
                                             Defendant has
                                                       has had
                                                           had actual
                                                               actual notice
                                                                      notice of
                                                                             of the
                                                                                the ‘276
                                                                                    `276 Registration and of
                                                                                         Registration and of
                           13 Submarine’s reliance upon
                                                   upon this
                                                        this registration
                                                             registration to
                                                                          to enforce its rights
                                                                                         rights against
                                                                                                against Defendant.
New York, New York 10005




                           13 Submarine's reliance                           enforce its                Defendant.
    P (212) 980-0120
    28 Liberty Street




                           14 Yet,
                           14 Yet, during
                                   during the
                                          the more
                                              more than
                                                   than twenty
                                                        twenty years
                                                               years that
                                                                     that have
                                                                          have lapsed
                                                                               lapsed since
                                                                                      since Submarine secured
                                                                                            Submarine secured
                           15 the
                           15 the registration,
                                  registration, Haven has failed
                                                Haven has        to seek
                                                          failed to seek to
                                                                         to cancel the registration,
                                                                            cancel the registration, or
                                                                                                     or even raised an
                                                                                                        even raised an
                           16 argument
                           16 argument that
                                       that the
                                            the registration
                                                registration was
                                                             was invalid.
                                                                 invalid. During
                                                                          During that
                                                                                 that time,
                                                                                      time, Submarine has relied
                                                                                            Submarine has relied
                           17 upon
                           17 upon this
                                   this registration and Defendant's
                                        registration and Defendant’s failure to challenge
                                                                     failure to           it, as
                                                                                challenge it,    it expanded
                                                                                              as it          use of
                                                                                                    expanded use of
                           18 the
                           18 the subject
                                  subject mark
                                          mark thereof
                                               thereof throughout
                                                       throughout the
                                                                  the United
                                                                      United States. Defendant’s long
                                                                             States. Defendant's      delay in
                                                                                                 long delay in
                           19 seeking
                           19 seeking to
                                      to cancel the ‘276
                                         cancel the `276 Registration precludes its
                                                         Registration precludes its Counterclaim.
                                                                                    Counterclaim.
                           20
                           20                              Second Affirmative Defense
                                                           Second Affirmative Defense
                           21
                           21                                     (Acquiescence)
                                                                  (Acquiescence)
                           22
                           22         22.
                                      22.   Defendant’s Counterclaim
                                            Defendant's              is barred
                                                        Counterclaim is barred in
                                                                               in whole
                                                                                  whole or
                                                                                        or in
                                                                                           in part
                                                                                              part because
                                                                                                   because
                           23 Defendant
                           23 Defendant consented or acquiesced
                                        consented or            to registration
                                                     acquiesced to registration of
                                                                                of the
                                                                                   the SUBMARINE trademark
                                                                                       SUBMARINE trademark
                           24 in
                           24 in the
                                 the form of Submarine’s
                                     form of             ownership of
                                             Submarine's ownership of the
                                                                      the ‘276
                                                                          `276 Registration.
                                                                               Registration.
                           25
                           25                               Third Affirmative Defense
                                                            Third Affirmative Defense
                           26
                           26                                        (Estoppel)
                                                                     (Estoppel)
                           27
                           27         23.
                                      23.   Defendant’s Counterclaim
                                            Defendant's              is barred
                                                        Counterclaim is barred in
                                                                               in whole
                                                                                  whole or
                                                                                        or in
                                                                                           in part
                                                                                              part under
                                                                                                   under the
                                                                                                         the
                           28 doctrine
                           28 doctrine of
                                       of estoppel. Defendant has
                                          estoppel. Defendant has had
                                                                  had constructive notice of
                                                                      constructive notice of the
                                                                                             the ‘276
                                                                                                 `276 Registration
                                                                                                      Registration
                                                                       4
                                                                       4
                                    COUNTERDEFENDANT SUBMARINE
                                    COUNTERDEFENDANT           VENTURES, LLC'S
                                                     SUBMARINE VENTURES,  LLC’S ANSWER
                                                                                ANSWER TO COUNTERCLAIMANT
                                                                                       TO COUNTERCLAIMANT
                                                   SUBMARINE HAVEN B.V.'S
                                                   SUBMARINE HAVEN  B.V.’S COUNTERCLAIMS
                                                                           COUNTERCLAIMS
                            Case 2:22-cv-01155-GW-AFM Document 25 Filed 07/11/22 Page 5 of 6 Page ID #:144




                                  1 since
                                  1 since at
                                          at least
                                             least as
                                                   as early as March
                                                      early as       2001. Upon
                                                               March 2001. Upon information and belief,
                                                                                information and belief, since
                                                                                                        since at
                                                                                                              at least as
                                                                                                                 least as
                                  2 early
                                  2       as 2013,
                                    early as 2013, Defendant
                                                   Defendant has
                                                             has had
                                                                 had actual
                                                                     actual notice
                                                                            notice of
                                                                                   of the
                                                                                      the ‘276
                                                                                          `276 Registration and of
                                                                                               Registration and of
                                   3 Submarine’s
                                   3             reliance upon
                                     Submarine's reliance upon this
                                                               this registration
                                                                    registration to
                                                                                 to enforce its rights
                                                                                    enforce its rights against
                                                                                                       against Defendant.
                                                                                                               Defendant.
                                  4 Yet,
                                  4 Yet, during
                                         during the
                                                the more
                                                    more than
                                                         than twenty
                                                              twenty years
                                                                     years that
                                                                           that have
                                                                                have lapsed
                                                                                     lapsed since
                                                                                            since Submarine secured
                                                                                                  Submarine secured
                                   55 the
                                      the registration,
                                          registration, Haven has failed
                                                        Haven has        to seek
                                                                  failed to seek to
                                                                                 to cancel the registration,
                                                                                    cancel the registration, or
                                                                                                             or even raised an
                                                                                                                even raised an
                                   6 argument
                                   6 argument that
                                              that the
                                                   the registration
                                                       registration was
                                                                    was invalid.
                                                                        invalid. During
                                                                                 During that
                                                                                        that time,
                                                                                             time, Submarine has relied
                                                                                                   Submarine has relied
                                   77 upon
                                      upon this
                                           this registration and Defendant's
                                                registration and Defendant’s failure to challenge
                                                                             failure to           it, as
                                                                                        challenge it,    it expanded
                                                                                                      as it          use of
                                                                                                            expanded use of
                                   8 the
                                   8 the subject
                                         subject mark
                                                 mark thereof
                                                      thereof throughout
                                                              throughout the
                                                                         the United
                                                                             United States. Defendant’s long
                                                                                    States. Defendant's      delay in
                                                                                                        long delay in
                                   99 seeking
                                      seeking to
                                              to cancel the ‘276
                                                 cancel the `276 Registration precludes its
                                                                 Registration precludes its Counterclaim.
                                                                                            Counterclaim.
                                  10
                                  10
 N
7)
Lf)
                                  11
                                  11   DATED: July
                                       DATED:      11, 2022
                                              July 11, 2022               FRANKFURT KURNIT
                                                                          FRANKFURT KURNIT KLEIN
                                                                                           KLEIN +
                                                                                                 + SELZ
                                                                                                   SELZ PC
                                                                                                        PC
                                  12
                                  12
                                                                          By:
                                                                          By:         /s/ Kimberly M.
                                                                                      /s/ Kimberly  M. Maynard
                                                                                                        Maynard
(1.)
                                  13                                            Kimberly M.
                                                                                          M. Maynard
                                                                                              Maynard (Pro    Hac Vice)
       New York, New York 10005




                g                 13                                            Kimberly                 (Pro Hac Vice)
           P (212) 980-0120
           28 Liberty Street




                                  14
                                  14                                            FRANKFURT KURNIT
                                                                                FRANKFURT      KURNIT KLEIN
                                                                                                          KLEIN + + SELZ
                                                                                                                    SELZ PC
                                                                                                                         PC
               4 ,9                                                             28 Liberty
                                                                                28 Liberty Street, 35th Floor
                                                                                           Street, 35th Floor
               ›-ro-:             15
                                  15                                            New York,
                                                                                New  York, New
                                                                                            New York
                                                                                                 York 10005
                                                                                                        10005
                                  16
                                  16                                            Telephone: (212)
                                                                                Telephone:  (212) 980-0120
                                                                                                   980-0120
                                                                                Facsimile: (212)
                                                                                Facsimile: (212) 593-9175
                                                                                                 593-9175
                                  17
                                  17                                            kmaynard@fkks.com
                                                                                kmaynard@fkks.com
                                  18
                                  18
                                                                                Vishwanath Mohan
                                                                                Vishwanath Mohan (SBN
                                                                                                   (SBN 313759)
                                                                                                          313759)
                                  19
                                  19                                            FRANKFURT KURNIT
                                                                                FRANKFURT     KURNIT KLEIN
                                                                                                         KLEIN + + SELZ
                                                                                                                   SELZ PC
                                                                                                                        PC
                                  20
                                  20                                            2029 Century
                                                                                2029 Century Park
                                                                                             Park East,
                                                                                                   East, Suite 2500N
                                                                                                         Suite 2500N
                                                                                Los Angeles, California
                                                                                Los Angeles, California 90067
                                                                                                        90067
                                  21
                                  21                                            Telephone: (310)
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                                                                                                  579-9650
                                                                                vmohan@fkks.com
                                                                                vmohan@fkks.com
                                  23
                                  23
                                  24
                                  24                                            Attorneys for
                                                                                Attorneys     Plaintiff SUBMARINE
                                                                                          for Plaintiff SUBMARINE
                                                                                ENTERTAINMENT, LLC
                                                                                ENTERTAINMENT,       LLC and
                                                                                                          and Plaintiff
                                                                                                              Plaintiff and
                                                                                                                        and
                                  25
                                  25                                            Counterdefendant  SUBMARINE VENTURES,
                                                                                Counterdefendant SUBMARINE       VENTURES,
                                  26
                                  26                                            LLC
                                                                                LLC

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                                           COUNTERDEFENDANT SUBMARINE
                                           COUNTERDEFENDANT           VENTURES, LLC'S
                                                            SUBMARINE VENTURES,  LLC’S ANSWER
                                                                                       ANSWER TO COUNTERCLAIMANT
                                                                                              TO COUNTERCLAIMANT
                                                          SUBMARINE HAVEN B.V.'S
                                                          SUBMARINE HAVEN  B.V.’S COUNTERCLAIMS
                                                                                  COUNTERCLAIMS
                               Case 2:22-cv-01155-GW-AFM Document 25 Filed 07/11/22 Page 6 of 6 Page ID #:145




                                       1
                                       1                                       PROOF OF SERVICE
                                                                               PROOF OF SERVICE
                                       22                   Submarine
                                                            Submarine Entertainment v. Submarine
                                                                      Entertainment v. Submarine Haven
                                                                                                 Haven B.V.
                                                                                                       B.V.
                                                                   Case No.
                                                                   Case No. 2:22-cv-01155-GW-AFM
                                                                            2:22-cv-01155-GW-AFM
                                       3
                                       3
                                            STATE OF CALIFORNIA,
                                            STATE OF CALIFORNIA, COUNTY
                                                                 COUNTY OF
                                                                        OF LOS ANGELES
                                                                           LOS ANGELES
                                       4
                                       4
                                                 At the
                                                 At  the time
                                                         time of
                                                               of service,
                                                                   service, II was
                                                                               was over
                                                                                   over 18
                                                                                         18 years
                                                                                            years of
                                                                                                  of age
                                                                                                     age and
                                                                                                          and not
                                                                                                              not aa party
                                                                                                                     party to
                                                                                                                           to this
                                                                                                                              this
                                          action. II am
                                       55 action.    am employed
                                                         employed in   in the
                                                                          the County  of Los
                                                                              County of      Angeles, State
                                                                                         Los Angeles,         of California.
                                                                                                        State of California. MyMy
                                          business address
                                          business   address is
                                                              is 2029
                                                                 2029 Century
                                                                         Century Park
                                                                                 Park East,
                                                                                       East, Suite 2500N, Los
                                                                                             Suite 2500N,    Los Angeles,
                                                                                                                 Angeles, CACA 90067.
                                                                                                                                90067.
                                       6
                                       6
                                                 On
                                                 On July   11, _2022
                                                      July 11,  2022, II served
                                                                          served true
                                                                                 true copies of the
                                                                                      copies of the following   document(s) described
                                                                                                    following documents        described
                                          as PLAINTIFF
                                       77 as PLAINTIFF AND    AND COUNTERDEFENDANT
                                                                      COUNTERDEFENDANT SUBMARINE                      VENTURES,
                                                                                                    SUBMARINE VENTURES,
                                          LLC’S    ANSWER TO
                                          LLC'S ANSWER                 DEFENDANT AND
                                                                 TO DEFENDANT           AND COUNTERCLAIMANT
                                                                                              COUNTERCLAIMANT
                                       8 SUBMARINE
                                       8  SUBMARINE HAVEN   HAVEN B.V.’S B.V.'S COUNTERCLAIM
                                                                                COUNTERCLAIM on         on the
                                                                                                            the interested
                                                                                                                interested parties
                                                                                                                           parties in
                                                                                                                                   in
                                          this action
                                          this action as
                                                       as follows:
                                                          follows:
                                       99
                                          Gregory
                                          Gregory P. P. Korn
                                                        Korn (SBN
                                                              (SBN 205306)
                                                                       205306)             Attorneysfor
                                                                                           Attorneys  for Defendant
                                                                                                          Defendant and
                                                                                                                      and
                                      10  Aaron Liskin
                                      10 Aaron            (SBN 264268)
                                                  Liskin (SBN     264268)
                                                                    rd                     Counterclaimant
                                                                                           Counterclaimant    SUBMARINE
                                                                                                              SUBMARINE       HAVEN
                                                                                                                              HAVEN
                                          808 Wilshire
                                          808  Wilshire Blvd.,
                                                          Blvd., 33rd  Floor
                                                                       Floor               B.V.
                                                                                           B.V.
                                      11 Santa
                                      11         Monica, CA
                                          Santa Monica,    CA 90401
                                                                 90401
                                          Telephone: (310)
                                          Telephone:    (310) 566-9800
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                                          gkorn@kwikhlaw.com
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2029 Century Park East, Suite 2500N




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                                      13 aliskin
   Los Angeles, California 90067




                                      13            .kwikhlaw. corn
        P (310) 579-9600




                                      14
                                      14          BY E-MAIL
                                                 BY     E-MAIL OR  OR ELECTRONIC
                                                                        ELECTRONIC TRANSMISSION:TRANSMISSION: Based       Based onon aa court
                                                                                                                                        court
                                         order or
                                         order  or an    agreement of
                                                     an agreement    of the
                                                                         the parties
                                                                              parties to
                                                                                       to accept     service by
                                                                                           accept service     by e-mail   or electronic
                                                                                                                  e-mail or   electronic
                                         transmission, II caused
                                      15 transmission,
                                      15                              the document(s)
                                                             caused the   document(s) to    to be
                                                                                               be sent
                                                                                                    sent from
                                                                                                         from e-mail     address
                                                                                                                 e-mail address
                                         aeichelberger@fkks.com to
                                         aeichelberger@fkks.com          to the
                                                                             the persons
                                                                                 persons at  at the
                                                                                                the e-mail   addresses listed
                                                                                                     e-mail addresses     listed in
                                                                                                                                 in the
                                                                                                                                    the Service
                                                                                                                                        Service
                                      16 List.
                                      16 List. II did
                                                   did not
                                                        not receive,   within aa reasonable
                                                            receive, within       reasonable time time after
                                                                                                        after the
                                                                                                              the transmission,
                                                                                                                   transmission, any
                                                                                                                                   any
                                         electronic    message or
                                         electronic message       or other
                                                                     other indication
                                                                             indication that
                                                                                          that the
                                                                                                 the transmission
                                                                                                      transmission was was unsuccessful.
                                                                                                                           unsuccessful.
                                      17
                                      17
                                                 II declare
                                                    declare under
                                                             under penalty
                                                                     penalty ofof perjury
                                                                                   perjury under
                                                                                             under thethe laws
                                                                                                          laws ofof the
                                                                                                                     the United
                                                                                                                         United States   of
                                                                                                                                 States of
                                         America that
                                      18 America
                                      18              that the
                                                           the foregoing
                                                                foregoing is   true and
                                                                            is true and correct
                                                                                          correct andand that
                                                                                                          that II am
                                                                                                                  am employed
                                                                                                                       employed inin the
                                                                                                                                     the office
                                                                                                                                         office
                                         of aa member
                                         of    member of  of the
                                                              the bar
                                                                  bar of
                                                                       of this
                                                                          this Court
                                                                                Court at   whose direction
                                                                                        at whose     direction the
                                                                                                                 the service
                                                                                                                      service was
                                                                                                                               was made.
                                                                                                                                    made.
                                      19
                                      19
                                                  Executed
                                                  Executed on  on July  11, 2022,
                                                                  July 11,   2022, at
                                                                                    at Los    Angeles, California.
                                                                                        Los Angeles,      California.
                                      20
                                      20
                                      21
                                      21
                                                                                                   /s/ Amy
                                                                                                  /s/  Amy Eichelberger
                                                                                                           Eichelberger
                                      22
                                      22                                                      Amy Eichelberger
                                                                                              Amy Eichelberger
                                      23
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